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                          Entered on Docket
                   5April 14, 2022
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                              Attorneys for Tecumseh–Infinity Medical
                      16      Receivable Fund, LP

                      17                          IN THE UNITED STATES BANKRUPTCY COURT
                                                        FOR THE DISTRICT OF NEVADA
                      18
                               In re:                                            Case No. 21-14486-abl
                      19
                               INFINITY CAPITAL MANAGEMENT, INC.,                Chapter 7
                      20
                                              Debtor.
                      21
                               HASELECT-MEDICAL RECEIVABLES                      Adversary Case No. 21-01167-abl
                      22       LITIGATION FINANCE FUND
                               INTERNATIONAL SP,,
                      23
                                              Plaintiff,                         Hearing Date: May 12, 2022,
                      24                                                         Hearing Time: 9:30 a.m.
                               v.
                      25
                               TECUMSEH-INFINITY MEDICAL                         Continued Hearing:
                      26       RECEIVABLES FUND, LP,,                            Date: May 26, 2022
                                                                                 Time: 9:30 a.m.
                      27                      Defendant/Counterclaim
                                              Plaintiff,
                      28
  Garman Turner Gordon
     Attorneys at Law
7251 Amigo Street, Ste. 210
   Las Vegas, NV 89119
      725-777-3000
                                  Case 21-01167-abl            Doc 72       Entered 04/14/22 07:55:54                Page 2 of 3


                        1         v.
                        2         HASELECT-MEDICAL RECEIVABLES
                                  LITIGATION FINANCE FUND
                        3         INTERNATIONAL SP, and ROBERT E.
                                  ATKINSON, CHAPTER 7 TRUSTEE,
                        4
                                                    Counterclaim Defendants.
                        5
                                  ROBERT E ATKINSON, CHAPTER 7
                        6
                                  TRUSTEE,
                        7
                                                    Counter Plaintiff,
                        8
                                  v.
                        9
                                  TECUMSEH-INFINITY MEDICAL
                      10          RECEIVABLES FUND, LP,

                      11                            Counter Defendant.

                      12
                                        ORDER APPROVING STIPULATION BETWEEN HASELECT-MEDICAL
                      13              RECEIVABLES LITIGATION FINANCE FUND INTERNATIONAL SP AND
                                            TECUMSEH-INFINITY MEDICAL RECEIVABLE FUND, LP TO:
                      14              (I) CONTINUE HEARING DATES ON MOTION FOR PARTIAL SUMMARY
                      15           JUDGMENT AS TO CERTAIN DISPUTED RECEIVABLES [DE #53] AND MOTION
                                    TO DISMISS ALL CLAIMS FOR LACK OF SUBJECT MATTER JURISDICTION
                      16          [DE #59]; AND (II) EXTEND DEADLINES FOR MOTION FOR PARTIAL SUMMARY
                                              JUDGMENT AS TO CERTAIN DISPUTED RECEIVABLES
                      17
                                         The Court has read and considered the stipulation between HASelect-Medical Receivables
                      18
                              Litigation Finance Fund International SP (“HASelect”) and Tecumseh-Infinity Medical
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                              Receivable Fund, LP (“Tecumseh”) to (1) continue the hearings on HASelect’s Motion for Partial
                      20
                              Summary Judgment as to Certain Disputed Receivables [ECF No. 53] and Tecumseh’s Motion to
                      21
                              Dismiss All Claims for Lack of Subject Matter Jurisdiction [ECF No. 59] and (2) extend related
                      22
                              opposition and reply deadlines (the “Stipulation”).1 Good cause appearing, IT IS HEREBY
                      23
                              ORDERED:
                      24
                                         1.       The Stipulation is APPROVED in its entirety.
                      25
                                         2.       The hearing on HASelect’s Partial Motion for Summary Judgment is continued
                      26
                              from May 12, 2022, at 9:30 a.m., to May 26, 2022, at 9:30 a.m.
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                      28      1
                                  All capitalized undefined terms used herein shall be defined in the Stipulation.
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                                 Case 21-01167-abl            Doc 72    Entered 04/14/22 07:55:54      Page 3 of 3


                        1                       3.   The hearing on Tecumseh’s Motion to Dismiss is continued from May 12, 2022, at

                        2     9:30 a.m., to May 26, 2022, at 9:30 a.m.

                        3                       4.   The deadline for Tecumseh to file and serve its memorandum of points and

                        4     authorities in opposition to the Partial Summary Judgment Motion shall be extended from April

                        5     12, 2022 to April 28, 2022 and the deadline for HASelect to file and serve its reply memorandum

                        6     of points and authorities shall be extended from April 26, 2022 to May 12, 2022.

                        7                       5.   Pursuant to LR 9014(d), the opposition and reply deadlines for the Motion to

                        8     Dismiss shall be May 12, 2022 and May 19, 2022, respectively.

                        9                       IT IS SO ORDERED.

                      10      PREPARED AND SUBMITTED BY:

                      11      GARMAN TURNER GORDON LLP

                      12      By: /s/ Gabrielle A. Hamm
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                              Receivable Fund, LP
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                      19      4855-1660-3675, v. 2




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